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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION


HM FLORIDA-ORL, LLC,
      Plaintiff,
             v.                                   Case No. 6:23-cv-00950
MELANIE GRIFFIN, in her official capacity
as Secretary of the Department of Business
and Professional Regulation, State of Florida,
      Defendant.


                            NOTICE OF APPEAL

      Notice is hereby given that the Defendant Melanie Griffin appeals to the

United States Court of Appeals for the Eleventh Circuit the amended order grant-

ing Plaintiffs Motion for Preliminary Injunction and denying Defendants’ Motion

to Dismiss, ECF No. 30.




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                                           Respectfully submitted,

 June 27, 2023                             ASHLEY MOODY
                                           ATTORNEY GENERAL

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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of June, 2023, a true and correct copy of the

foregoing was filed with the Court’s CM/ECF system, which will provide service to all

parties.

                                        /s/ Nathan A. Forrester
                                        Nathan A. Forrester




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